The transcript of the evidence has been carefully examined. It describes a course of treatment on the part of defendant which was mean, shabby and, undoubtedly, inductive to much distress to plaintiff. However, it is apparent that bad as it was the plaintiff did not leave the defendant, *Page 26 
but, on the contrary, he left her. It is impossible for the court to conclude that since the plaintiff was willing to go on living with the defendant, his mistreatment of her had reached the point where it had become intolerable. Without it had, there is no cause of action on the ground of intolerable cruelty.Purcell vs. Purcell, 101 Conn. 422, 426; Van Guilder vs. VanGuilder, 100 id. 1, 4; McEvoy vs. McEvoy, 99 id. 427, 431;Sweet vs. Sweet, 97 id. 693, 694.
   Decree denied.